     Case 1:15-cr-10338-FDS Document 2568 Filed 06/22/18 Page 1 of 4
                                                                       18-1




 1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
 2

 3
      UNITED STATES OF AMERICA                )
 4                                            )
      vs.                                     ) Criminal Action
 5                                            )
      HERZZON SANDOVAL,                       ) No. 15-10338-FDS
 6    EDWIN GUZMAN,                           )
      CESAR MARTINEZ,                         )
 7    ERICK ARGUETA LARIOS,                   )
                         Defendants           )
 8

 9
      BEFORE:    THE HONORABLE F. DENNIS SAYLOR, IV
10

11
                                 JURY TRIAL DAY 18
12

13
                 John Joseph Moakley United States Courthouse
14                              Courtroom No. 2
                               1 Courthouse Way
15                             Boston, MA 02210

16                               February 23, 2018
                                    9:03 a.m.
17

18

19

20

21

22

23                             Valerie A. O'Hara
                            Official Court Reporter
24               John Joseph Moakley United States Courthouse
                          1 Courthouse Way, Room 3204
25                             Boston, MA 02210
                           E-mail: vaohara@gmail.com
     Case 1:15-cr-10338-FDS Document 2568 Filed 06/22/18 Page 2 of 4
                                                                       18-2




 1    APPEARANCES:

 2    For The United States:

 3         United States Attorney's Office, by CHRISTOPHER J. POHL,
      ASSISTANT UNITED STATES ATTORNEY, and KELLY BEGG LAWRENCE,
 4    ASSISTANT UNITED STATES ATTORNEY, 1 Courthouse Way, Suite 9200,
      Boston, Massachusetts 02110;
 5
      For the Defendant Herzzon Sandoval:
 6
           Foley Hoag LLP, by MARTIN F. MURPHY, ESQ. and
 7    MADELEINE K. RODRIGUEZ, ATTORNEY,
      155 Seaport Boulevard, Boston, Massachusetts 02210;
 8
      For the Defendant Edwin Guzman:
 9
           Lawson & Weitzen, by SCOTT P. LOPEZ, ESQ.,
10    88 Black Falcon Avenue, Suite 345, Boston, Massachusetts 02210

11    For the Defendant Erick Arueta Larios:

12         THOMAS J. IOVIENO, ESQ., 345 Neponset Street
      Canton, MA 02021;
13
      For the Defendant Cesar Martinez:
14
           STANLEY W. NORKUNAS, ESQ., 11 Kearney Square,
15    Howe Building, Suite 202, Lowell, Massachusetts 01852.

16         ROBERT M. SALTZMAN, ESQ., 1 Central Street, Suite 5,
      Stoneham, Massachusetts 02180.
17
      ALSO PRESENT:     Gabriel Haddad, Spanish Interpreter
18                      Carrie Lilley, Spanish Interpreter

19

20

21

22

23

24

25
               Case 1:15-cr-10338-FDS Document 2568 Filed 06/22/18 Page 3 of 4
                                                                                       18-3




           1                                  PROCEEDINGS

           2               THE CLERK:    All rise for the jury.

           3               (JURORS ENTERED THE COURTROOM.)

           4               THE CLERK:    Thank you.    You may be seated.

           5               THE COURT:    Good morning, ladies and gentlemen.         It

           6    looks like the twelve jurors are here and the three alternates

           7    and like yesterday or the plan yesterday, if we haven't heard

           8    from you at a few minutes to five o'clock, I'll check in and

           9    see where we are.     All right.     Thank you.

09:01AM   10               THE CLERK:    All rise.

          11               (JURORS EXITED THE COURTROOM.)

          12               (Jury deliberating)

          13               THE CLERK:    All rise for the jury.

          14               (JURORS ENTERED THE COURTROOM.)

          15               THE COURT:    All right.    Ladies and gentlemen, it's

          16    about seven minutes to five.       What do you want to do?        Do you

          17    want to keep going?      Do you want to go home?

          18               FOREPERSON OF THE JURY:      Go home and come back Monday.

          19               THE COURT:    9 a.m.?

04:54PM   20               FOREPERSON OF THE JURY:      Yes.

          21               THE COURT:    We will break for the weekend.          Remember

          22    my instructions, you're only to discuss the case with each

          23    other in the jury room and ignore any media reports there may

          24    be, not discuss with any friends, family or anyone else, and we

          25    will see you at 9:00 on Monday morning.
     Case 1:15-cr-10338-FDS Document 2568 Filed 06/22/18 Page 4 of 4
                                                                       18-4




 1               THE CLERK:    All rise.

 2               (Whereupon, the hearing was adjourned at 4:54 p.m.)

 3

 4                             C E R T I F I C A T E

 5

 6    UNITED STATES DISTRICT COURT )

 7    DISTRICT OF MASSACHUSETTS ) ss.

 8    CITY OF BOSTON )

 9

10                I do hereby certify that the foregoing transcript was

11    recorded by me stenographically at the time and place aforesaid

12    in Criminal Action No. 15-10338-FDS, UNITED STATES vs.

13    HERZZON SANDOVAL, et al., and thereafter by me reduced to

14    typewriting and is a true and accurate record of the

15    proceedings.

16                Dated this 22nd day of June, 2018.

17                                s/s Valerie A. O'Hara

18                                _________________________

19                                 VALERIE A. O'HARA

20                                 OFFICIAL COURT REPORTER

21

22

23

24

25
